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                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO
                                     _______________________



UNITED STATES OF AMERICA,

                           Plaintiff,

v.                                                                             Case No. 12-CR-00155 WJ

ANTHONY GUTIERREZ and
ANGELO GUTIERREZ,

                           Defendants.


                           MEMORANDUM ORDER AND OPINION
                        DENYING DEFENDANT=S MOTION TO DISMISS

THIS MATTER comes before the Court on Defendant Anthony Gutierrez’ Motion to Dismiss

(doc. 40), filed July 30, 2012. A grand jury charged Gutierrez with violating the Hobbs Act and

conspiracy to violate the Hobbs Act, 18 U.S.C. § 1951, after he allegedly threatened to shoot a

K-Mart loss prevention officer during the theft of DVDs and a backpack. 1 Defendant argues that

because any use of force or threat of violence occurred only after the theft was completed, his

acts do not constitute robbery and the charges against him under the Hobbs Act must be

dismissed and the case returned to state court. Because the undisputed facts show that the use of

force and threat of violence occurred during the course of the theft, the Court DENIES

Defendant’s Motion.




1
 These charges constitute Counts 1 and 2 of the indictment. Although Defendant’s Motion to Dismiss also asks the
Court to dismiss Count 3, a charge of possession of a gun in connection with a crime of violence, he concedes in his
Reply that the analysis applies only to Counts 1 and 2. Therefore, the Court will not address Count 3.
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                                                        FACTS

           The following account is taken from reports by K-mart Loss Prevention Officers and

Santa Fe Police Department officers, undisputed by either Defendant or the United States. On

October 21, 2011, K-Mart Loss Prevention Officers Heran Kelleher and Otto Moore watched by

video surveillance as Defendant placed numerous DVDs into a backpack taken from another part

of the store and put the backpack on a shelf in the electronics department. He returned with a

shopping cart, put the backpack in the cart, and pushed the cart out of the electronics section of

the store. After leaving the store without any merchandise and re-entering the store with his

brother, Angelo,2 Defendant recovered the backpack and they left the store.

           Kelleher had already exited the store to wait for Defendant. When Defendant began to

run, Kelleher gave chase and caught him approximately twenty feet from the store’s exit.

Initially, Kelleher “grabbed the backpack from [Defendant]’s shoulder,” leading Defendant to

fall and Kelleher to fall on top of him. Motion to Dismiss. (doc. 40) A struggle ensued between

Defendant, Angelo, Kelleher, and Moore, during which Kelleher was struck in the head with a

pistol, Kelleher detained Angelo, and Defendant threatened to shoot Kelleher unless he released

Angelo. Angelo then “grabbed the backpack with the stolen merchandise” and he and Defendant

fled on foot. Officers from the Santa Fe Police Department later located and arrested the two

men.

                                                   DISCUSSION

I. Law

           Defendant was charged under the Hobbs Act with conspiracy to commit interference with

interstate commerce by robbery, and interference with interstate commerce by robbery and

violence. The Hobbs Act makes it a criminal offense to “obstruct[], delay[], or affect[]
2
    Angelo is a co-defendant in the case. He is represented by separate counsel.
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commerce or the movement of any article or commodity in commerce, by robbery or extortion or

attempts or conspires so to do.” 18 U.S.C. § 1951(a) (2012). The statute defines “robbery” as

“the unlawful taking or obtaining of personal property from the person or in the presence of

another, against his will, by means of actual or threatened force, or violence, or fear of injury,

immediate or future, to his person or property, or property in his custody or possession . . . .” 18

U.S.C. § 1951(b)(1). Because few cases have interpreted this definition of robbery, both parties

look to New Mexico’s robbery statute, which defines the crime as “the theft of anything of value

from the person of another or from the immediate control of another, by the use or threatened use

of force or violence.” N.M. Stat. Ann. § 30-16-2 (Michie 1978).

II. Application

       Defendant argues that the facts in this case do not constitute a robbery because the use of

force or threat of violence occurred only after the theft had been completed, and therefore his

actions constitute shoplifting and a subsequent aggravated assault. The Court disagrees. The

undisputed facts show that although Defendant left the store with a backpack full of DVDs, he

was intercepted in the store parking lot where Kelleher took the backpack from him. Only after

Kelleher was struck on the head with a gun and threatened with shooting did Angelo regain the

backpack. Whether this constitutes completion of a robbery begun inside the store or a distinct

offense occurring after a completed shoplifting is irrelevant for the purposes of this motion.

       Because Defendant and his brother regained the backpack of stolen goods only through

the use of force, the cases he cites for the proposition that force used during an escape does not

constitute a robbery are inapposite. In United States v. Smith, the Tenth Circuit held that injuring

a store employee during the defendant’s escape did not convert a theft into a robbery. 156 F.3d

1046 (10th Cir. 1998). There, the defendant entered a sporting goods store and asked the sales
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associate to show him two handguns from the display. Id. at 1048. After the sales associate

handed him the guns, the defendant ran out of the store. Id. The sales associate followed. Id.

The defendant jumped into a car and drove away, striking the sales associate with the car and

injuring him as he did so. Id. The Tenth Circuit concluded that the sales associate’s injury was

insufficient to prove a robbery occurred where there was no evidence that the defendant used

actual or threatened force or violence to acquire the guns; rather, he simply pretended to be an

ordinary customer and ran. Id. at 1056. The sales associate had made sure the guns were

unloaded before handing them to the defendant, and there was no evidence the defendant

brandished the guns during his escape. Id. Because “the Hobbs Act requires that a defendant

take property by means of actual or threatened force or violence,” the Circuit concluded that an

incidental injury during escape was not sufficient. Id. (emphasis in original).

       However, although Smith held that the theft had been completed when the defendant left

the store, no one regained the guns from the defendant between the time when he left the store

and when he drove away. The present case is distinguishable because the loss prevention

officers briefly recovered the backpack from Defendant after he left the store. More analogous is

a Fourth Circuit case in which the defendant had taken drugs from a laboratory and was putting

the stolen drugs into his truck in the parking lot when his employer grabbed his shoulder to stop

him. United States v. Smith, 141 Fed. Appx. 83, 86-87 (4th Cir. 2005). The defendant shoved

his employer out of the way, finished loading the boxes, and left. Id. at 87. The Fourth Circuit

concluded that the evidence did not support giving an instruction that the use of force had

occurred only during the defendant’s escape. Id. at 87.

       The New Mexico cases on which Defendant relies are equally unavailing. In State v.

Lewis, the New Mexico Court of Appeals concluded that no robbery occurred where the
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defendant used force to escape only after a theft was complete. 116 N.M. 849, 867 P.2d 1231

(N.M. App. 1993). There, a man hired a prostitute, who took him to a motel room with a back

room and a front room. Id. at 850, 867 P.2d at 1232. He left his coat and wallet in the front

room while he went into the back room with the prostitute. Id. Later, when he returned to the

front room, he discovered his wallet had been emptied, and when he turned around, the prostitute

was pointing a gun at him. Id. The defendant then came out of the back room, the prostitute

handed him the gun, and they ordered the victim out of the motel. Id. Noting that under New

Mexico law, “the use or threatened use of force must be the factor by which the property is

removed from the victim's possession,” the Court concluded that because the money had been

taken while the victim was in the back room, the theft had occurred by stealth, not by force. Id.

at 850-51, 867 P.2d at 1232-33 (citing State v. Sanchez, 78 N.M. 284, 285, 430 P.2d 781, 782

(Ct. App. 1967)). “Defendant clearly had control over the victim’s money once it had been taken

from his clothing. Defendant’s use of a weapon only after the money was separated from the

victim was merely an action to hold victim at bay as he escaped from the hotel.” Id. at 851, 867

P.2d at 1233.

       Here, however, Defendant did not “ha[ve] control” over the stolen goods before force

was used. Kelleher had grabbed the backpack containing the DVDs, and Defendant and his

brother only regained control of it after striking Kelleher in the head and threatening to shoot

him. In fact, that force was “the factor by which the property [was] removed” from Kelleher’s

possession. Therefore, following Lewis, the alleged acts constitute a robbery under New Mexico

law.

       Defendant also relies on a law review article to argue that “this is not the sort of fact

situation for which the Hobbs Act was intended.” Mot. To Dismiss (doc. 40); see Stephen C.
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Yarbrough, The Hobbs Act in the Nineties: Confusion or Clarification of the Quid Pro Quo

Standard in Extortion Cases Involving Public Officials, 31 Tulsa L.J. 781 (Sum. 1996).

Whatever its origins, courts have since concluded that the Act “speaks in broad language,

manifesting a purpose to use all the constitutional power Congress has to punish interference

with interstate commerce by extortion, robbery or physical violence. The Act outlaws such

interference in any way or degree.” United States v. Zeigler, 19 F.3d 486, 489 (10th Cir. 1994)

(quoting Stirone v. United States, 361 U.S. 212, 80 S.Ct. 270, 4 L.Ed.2d 252 (1960) (internal

citation omitted)); see also United States v. Culbert, 435 U.S. 371, 373, 98 S.Ct. 1112, 1113, 55

L.Ed.2d 349 (1978) (rejecting any limitation of the Hobbs Act to “racketeering” only and

concluding that words used by Congress in the Act “do not lend themselves to restrictive

interpretation.”).

        Finally, Defendant contends the use of force arose only because Kelleher and Moore

violated K-Mart’s “hands-off” policy, which forbids loss prevention officers from using force

against shoplifters. Whether K-Mart policy allowed Kelleher to tackle Defendant is irrelevant to

whether Defendant used or threatened the use of force to regain the backpack of stolen goods.

        THEREFORE, IT IS ORDERED that Defendant’s Motion to Dismiss (doc. 40) is

hereby DENIED for the reasons set forth in this Memorandum Opinion and Order.




                                                     ________________________________

                                                     UNITED STATES DISTRICT JUDGE
